                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI

                                               )
MORTGAGE RESEARCH CENTER, LLC                  )
(D/B/A VETERANS UNITED AND                     )
VETERANS UNITED HOME LOANS),                   )
                                               )      Case No.   15-4210
                Plaintiff,                     )
                                               )      JURY TRIAL DEMANDED
       v.                                      )
                                               )
ICONIC RESULTS, LLC; DOES 1 - 100,             )
                                               )
                Defendants.                    )
                                               )
                                               )
                                               )

                                        COMPLAINT

       Mortgage Research Center, LLC (d/b/a Veterans United and Veterans United Home

Loans) (“Veterans United”) hereby alleges against Defendants Iconic Results, LLC (“Iconic

Results”), and Does 1 through 100 (collectively, “Defendants”) as follows:

                                      INTRODUCTION

       1.       This lawsuit arises out of Defendants’ unlawful use of service marks owned by

Veterans United for purposes of soliciting customers of Veterans United to refinance their

Veterans United home mortgage loans with third-party financial institutions, in violation of the

Trademark Act of 1946, 15 U.S.C. §§ 1051 et seq. (the “Lanham Act”).

       2.       Veterans United is the owner of the federally-registered service mark “Veterans

United,” Registration No. 4,131,122. Veterans United also is the owner of the service mark

“Veterans United Home Loans,” Trademark/Service Mark Application Serial No. 86725529

(filed Aug. 14, 2015) (collectively, the “Veterans United Marks”).




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       3.       Despite knowing of Veterans United’s service mark rights, and without Veterans

United’s authorization, Defendants have used and continue to use the Veterans United Marks,

and various other marks that are confusingly similar to the Veterans United Marks (including

without limitation “Veterans Services United,” “United Veterans,” and “Veterans Benefit

Services”), in communications with current and potential home mortgage loan customers of

Veterans United for purposes of soliciting those customers to refinance their home mortgage

loans with various unknown third-party financial institutions named herein as Does 1 through

100 (the “Doe Defendants”). Defendants’ use of the Veterans United Marks and confusingly

similar imitations of the Veterans United Marks to solicit mortgage loan refinancing business

infringes the Veterans United Marks.

       4.       Veterans United has been damaged by Defendants’ infringement and requests that

this Court enjoin Defendants from continuing their use of the Veterans United Marks and

confusingly similar imitations of the Veterans United Marks.        Veterans United also seeks

damages.

                                JURISDICTION AND VENUE

       5.       This Court has jurisdiction over the subject matter of this action pursuant to 15

U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338.

       6.       This Court has personal jurisdiction over Defendants because, on information and

belief, Defendants regularly conduct business within the State of Missouri, Defendants have used

the Veterans United Marks and confusingly similar imitations of the Veterans United Marks in

communications with Veterans United customers within the State of Missouri, and Defendants’

infringing acts have caused injury within the State of Missouri.




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         7.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c) because a

substantial part of the events or omissions giving rise to Veterans United’s claims occurred in

this District and because Defendants regularly conduct business within this District.

                                              PARTIES

         8.       Veterans United is a Missouri limited liability company with its principal place of

business at 1400 Veterans United Drive, Columbia, Missouri, 65203.

         9.       On information and belief, Iconic Results is an Arizona limited liability company

with its principal place of business at 8125 North 23rd Avenue, Phoenix, Arizona, 85021.

         10.      The true names and capacities of the Doe Defendants are unknown to Veterans

United, who therefore sues them under fictitious names. Each of the Doe Defendants is legally

responsible in some manner for the wrongdoing alleged herein. Veterans United will amend its

Complaint to allege the true names and capacities of the Doe Defendants when they become

known.

                                      BACKGROUND FACTS

         11.      Veterans United was founded in 2002 and is a leading provider of home mortgage

loans to veterans of the United States Armed Forces under the United States Department of

Veterans Affairs’ (“VA”) Home Loan Guaranty Program. Since its founding, Veterans United

has provided tens of billions of dollars in VA-guaranteed home mortgage loans to veterans and

has achieved a reputation as a leader in the VA home loan industry.

         12.      Veterans United is the owner of the federally-registered service mark “Veterans

United,” Registration No. 4,131,122, issued by the United States Patent and Trademark Office

(“USPTO”) on April 24, 2012. A copy of the Certificate of Registration for this mark is attached

as Exhibit A. This mark was first used in commerce at least as early as April 2011.




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       13.      Veterans United also is the owner of the common law service mark “Veterans

United Home Loans.” Veterans United has a pending Trademark/Service Mark Application for

this mark. That Application was filed on August 14, 2015 and bears Serial No. 86725529. A

copy of this Application is attached as Exhibit B. This mark was first used in commerce at least

as early as April 2011.

       14.      Since at least 2010, Veterans United has used the Veterans United Marks in

commerce throughout the United States to reflect its status as a valuable and unique financial

resource for thousands of veteran homebuyers and their families. As a result, the Veterans

United Marks have become well known to the general public as associated with Veterans United.

Veterans United has established significant goodwill in and public recognition of the Veterans

United Marks.

       15.      On information and belief, Iconic Results provides lead generation and

aggregation services and online marketing services to the home mortgage loan and education

finance industries. Iconic Results’ business includes the generation of customer leads on behalf

of various third-party financial institutions engaged in the business of home mortgage loan

refinancing.

       16.      On information and belief, the Doe Defendants provide banking and financial

services, including home mortgage loan refinancing, to customers throughout the United States.

       17.      The Doe Defendants are purchasers and beneficiaries of certain mortgage loan

refinancing leads generated by Iconic Results.

       18.      Beginning in or about March 2014, representatives of Iconic Results, acting as

lead generators on behalf of the Doe Defendants, have telephoned customers to whom Veterans

United issued VA-guaranteed home mortgage loans, as well as potential customers for Veterans




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United issued VA-guaranteed home mortgage loans, to solicit those customers to refinance their

loans with the Doe Defendants. Without Veterans United’s knowledge or authorization, and

without disclosing their status as agents of Iconic Results, these representatives have identified

and continue to identify themselves to Veterans United’s customers as employees of “Veterans

United,” “Veterans United Home Loans,” “Veterans Services United,” “United Veterans,” and/or

“Veterans Benefit Services.” These representatives have referred and continue to refer interested

customers to the Doe Defendants.

        19.     For example, on or about August 21, 2015, a representative of Iconic Results,

purporting to act on behalf of “United Veterans,” telephoned Brock Cooper, General Counsel of

Veterans United, to solicit him to refinance his loan. Mr. Cooper was referred by Iconic Results

to a Doe Defendant for the purpose of refinancing his home mortgage loan.

        20.     Upon information and belief, as a direct result of Defendants’ unauthorized use of

the Veterans United Marks and confusingly similar imitations of the Veterans United Marks,

many of Veterans United’s existing mortgage loan customers have opted to refinance their loans

with third-party financial institutions, including the Doe Defendants

        21.     Upon information and belief, these customers, and others, have been confused as

to the source of the telephone solicitations made by Iconic Results on behalf of those financial

institutions.

        22.     Defendants’ unauthorized use of the Veterans United Marks and confusingly

similar imitations of the Veterans United Marks to solicit mortgage loan refinancing business has

caused and is likely to continue causing confusion, mistake, and/or deception among consumers,

including Veterans United’s existing customers, by creating the false impression that services

provided by Defendants are provided by, authorized by, or in some manner associated with




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Veterans United.      The confusion, mistake, and/or deception engendered by Defendants’

misappropriation of the Veterans United Marks has caused and will continue to cause irreparable

harm to the reputation and goodwill symbolized by the Veterans United Marks.

                              FIRST CLAIM FOR RELIEF
    (Federal Service Mark Infringement of “Veterans United” Mark – 15 U.S.C. § 1114)

       23.     Veterans United re-alleges and incorporates herein by reference all preceding

paragraphs as if fully set forth herein.

       24.     Defendants have knowingly and willfully used Veterans United’s federally-

registered “Veterans United” service mark and other confusingly similar imitations, including

“Veterans United Home Loans,” “Veterans Services United,” “United Veterans,” and “Veterans

Benefit Services,” in interstate commerce in connection with soliciting Veterans United

customers to refinance their home mortgage loans, and Defendants are likely to continue that use

in the future, in violation of 15 U.S.C. § 1114.

       25.     Defendants’ use of confusingly similar imitations of Veterans United’s federally-

registered “Veterans United” service mark has caused and, unless enjoined by this Court, is

likely to continue causing confusion, mistake, and/or deception among consumers by creating the

false impression that Defendants’ services are affiliated with, connected to, or associated with

Veterans United.

       26.     Defendants’ actions demonstrate an intentional, willful, and malicious intent to

trade on the goodwill associated with the federally-registered “Veterans United” service mark, to

the great and irreparable injury of Veterans United for which there is no adequate remedy at law.

       27.     Defendants’ unlawful acts and practices have caused and are likely to continue

causing substantial and irreparable injury to the public and to Veterans United, and Veterans

United is entitled to preliminary and permanent injunctive relief and to recover, in addition to its



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actual damages, Defendants’ profits, enhanced profits and damages, costs, and reasonable

attorney fees pursuant to 15 U.S.C. §§ 1114, 1116, and 1117.

                            SECOND CLAIM FOR RELIEF
                   (Common Law Infringement of “Veterans United” Mark)

       28.       Veterans United re-alleges and incorporates herein by reference all preceding

paragraphs as if fully set forth herein.

       29.       Defendants have knowingly and willfully used the Veterans United Marks and

other confusingly similar imitations, including “Veterans United Home Loans,” “Veterans

Services United,” “United Veterans,” and “Veterans Benefit Services,” in commerce in

connection with soliciting Veterans United customers to refinance their home mortgage loans,

and Defendants are likely to continue that use in the future.

       30.       Defendants’ use of confusingly similar imitations of the Veterans United Marks

has caused and, unless enjoined by this Court, is likely to continue causing confusion, mistake,

and/or deception among consumers by creating the false impression that Defendants’ services are

affiliated with, connected to, or associated with Veterans United.

       31.       Defendants’ actions demonstrate an intentional, willful, and malicious intent to

trade on the goodwill associated with the Veterans United Marks, to the great and irreparable

injury of Veterans United for which there is no adequate remedy at law.

       32.       Defendants’ unlawful acts and practices have caused and are likely to continue

causing substantial and irreparable injury to the public and to Veterans United, and Veterans

United is entitled to preliminary and permanent injunctive relief and to recover, in addition to its

actual damages, Defendants’ profits, enhanced profits and damages, costs, and reasonable

attorney fees.




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                                THIRD CLAIM FOR RELIEF
                      (Federal Unfair Competition – 15 U.S.C. § 1125(a))

       33.     Veterans United re-alleges and incorporates herein by reference all preceding

paragraphs as if fully set forth herein.

       34.     Veteran United is the owner of the Veterans United Marks, which are inherently

distinctive and/or have acquired secondary meaning as an identifier of Veterans United as the

source of goods and services.

       35.     Defendants have knowingly and willfully used the Veterans United Marks and

other confusingly similar imitations of the Veterans United Marks, including “Veterans Services

United,” “United Veterans,” and “Veterans Benefit Services,” in interstate commerce in

connection with soliciting Veterans United customers to refinance their home mortgage loans,

and Defendants are likely to continue that use in the future.

       36.     Defendants’ use of the Veterans United Marks and other confusingly similar

imitations of the Veterans United Marks, including “Veterans Services United,” “United

Veterans,” and “Veterans Benefit Services,” in connection with soliciting mortgage loan

refinancing business is likely to cause confusion, mistake, and/or deception among consumers as

to affiliation, connection, or association, and constitutes false designation of origin in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       37.     Defendants’ actions demonstrate an intentional, willful, and malicious intent to

trade on the goodwill associated with the Veterans United Marks, to the great and irreparable

injury of Veterans United for which there is no adequate remedy at law.

       38.     Defendants’ unlawful acts and practices have caused and are likely to continue

causing substantial and irreparable injury to the public and to Veterans United, and Veterans

United is entitled to preliminary and permanent injunctive relief and to recover, in addition to its



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actual damages, Defendants’ profits, enhanced profits and damages, costs, and reasonable

attorney fees pursuant to 15 U.S.C. §§ 1125(a), 1116, and 1117.

                                    PRAYER FOR RELIEF

        WHEREFORE, Veterans United respectfully prays for a judgment against Defendants as

follows:

        (a)     That Defendants, their officers, directors, shareholders, principals, agents,

servants, employees, attorneys, and related companies, and all persons in active concert or

participation with one or more of them, be preliminarily and permanently enjoined and restrained

from using the Veterans United Marks and any mark that is confusingly similar to the Veterans

United Marks, including “Veterans Services United,” “United Veterans,” and “Veterans Benefit

Services”;

        (b)     That this Court award Veterans United damages adequate to compensate Veterans

United for Defendants’ acts of infringement and unfair competition;

        (c)     That Veterans United be awarded its actual damages and lost profits in an amount

to be proven at trial;

        (d)     That Defendants be required to account for any profits attributable to their

unlawful acts and practices as described in this Complaint;

        (e)     That Veterans United be awarded the greater of three times Defendants’ profits or

three times any damages sustained by Veterans United, plus prejudgment interest;

        (f)     That all products, labels, signs, advertisements, and Internet content in

Defendants’ possession, custody, or control bearing the Veterans United Marks and any

confusingly similar mark that is found to be in violation of the Lanham Act or any reproduction,

counterfeit, copy, or simulation thereof shall be delivered up by Defendants and destroyed or

sufficiently altered to remove all reference to the infringing marks;


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        (g)     That Defendants be required to pay the costs and reasonable attorney fees and

disbursements incurred by Veterans United in this action; and

        (h)     That Veterans United be awarded any such other and further relief as the Court

may deem just and proper.

                                DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Veterans United hereby demands a jury trial on all

issues so triable.



Date: September 28, 2015

                                                   Respectfully submitted,

                                                   LATHROP & GAGE LLP


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